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U.S.A. vs. Rick L. Wood Docket No. 04-20390-01-B

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETRIAL SERVICES OFFICER Murray Fullner presenting an official report upon the conduct
of defendant who Was placed under pretrial release supervision by the Honorable Diane K. Vescovo sitting in the
court at Memphis, Tennessee, on the 20th day of September, 2004, under the following conditions:

l) Report to Pretrial Services as directed, 2) Refrain from any unlawful possession or use of a controlled
substance, 3) Submit to substance abuse testing as directed by Pretrial Services, 4) Participate in drug treatment
(if deemed advisable by Pretrial Services), and 5) Defendant shall notify current and niture employer of pending
charges if there is access to personal identity or loan information

RESPECTFULLY PRESENTING PETIT]ON FOR ACTION oF COURT AND FOR CAUSE AS FOLLOWS.-
Rick Wood has violated conditions of pretrial release as follows:

Report as directed bv the Pretrial Services Office
As previously reported, Rick Wood failed to report to his supervising officer in Little Rock, Arkansas, by
telephone on December 30'h and in person on January I l"‘.

Refrain from any unlawful possession or use of a controlled substance
Rick Wood tested positive for methamphetamine and amphetamine on January 25"‘, March 22"“, April 4"‘, and
most recently on May 24"1

Submit to drug testing as required by the supervising officer

After having been instructed not to over consume liquid prior to drug testing, Rick Wood submitted urinalysis
specimens on lanuary 25"‘, February l“, Februaiy 9"‘, March 29"‘, May Z"d, and May 31“' which were each
determined by laboratory results to be dilute. Defendant Wood failed to produce urinalysis specimens as required
on January 24"`, March 4“‘, March 21“, April 29‘h, and May 10"‘.

PRAYING THAT THE COURT WILL ORDER the issuance of a warrant so that Rick Wood may appear and
show cause as to why his pretrial release should not be revoked

Bond Recommended: NONE

ORDER OP COURT I declare under penalty of perjury that the

/5' f A foregoing is true and correct.
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U.S. District judge

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This notice confirms a copy ofthe document docketed as number 82 in
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J unc 16, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

